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IN THE UNITED STATES DISTRICT COURT <é/y Mt ee
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FOR THE EASTERN DISTRICT OF LOUISIANA 4 Ope "4 A
In re: Oil Spill by the Oil Rig“Deepwater * | MDLNo.2179 “Leg My),
Horizon” * 2 i
THIS DOCUMENT RELATES TO: V
*
ROSELYN RENEE _ RICHARD, * Case No. 2:2010-cv-08888
individually and on behalf of *
SKEETER’S SPORTS BAR, LLC %
Claimant * Individual Case Document No. 74256

EX PARTE MOTION TO WITHDRAW

NOW INTO COURT comes the undersigned counsel, BRANDY GONZALES
SCURRIA of the firm BRANDY GONZALES LEGAL SERVICES, LLC, and respectfully
asks that this court allow her to withdraw as counsel for Roselyn Renee Richard, individually
and on behalf of Skeeter’s Sports Bar, LLC.

The undersigned filed a Short Form Joinder to preserve the claim of Roselyn Renee
Richard, individually and on behalf of Skeeter’s Sports Bar, LLC on April 19, 2011 (Document
No. 74256). Ms. Richard has not responded to repeated requests to provide the necessary
documents to represent her in this matter. On June 14, 2011, the undersigned sent a letter to Ms.
Richard via certified mail, return receipt requested. The letter informed Ms. Richard that if she
did not provide our office with the necessary documents by June 21, 2011, the undersigned
would withdraw as counsel. The letter was delivered on June 16, 2011 and the signed return
receipt was returned to our office. To date, the undersigned has not received the documents.

Therefore, BRANDY GONZALES SCURRIA, respectfully requests that she and her
firm, BRANDY GONZALES LEGAL SERVICES, LLC, be allowed to formally withdraw from

representing Ms. Richard and that the Clerk of Court be ordered to strike her name, Brandy
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Gonzales Scurria, and the name of her firm, Brandy Gonzales Legal Services, LLC, from the

record as counsel for Claimant, Roselyn Renee Richard, individually and on behalf of Skeeter’s

Sports Bar, LLC.

Respectfully Submitted,
Dated: julydb, 2011

Brandy Gonzales Legal Services, LLC

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Brandy Gonzalés Scurria (Bar Roll #29879)
858 Camp Streeb_’

New Orleans, LA 70130

Telephone: (504) 814-0563

Facsimile: (504) 529-8941

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that I caused the foregoing document to be served by regular

mail upon the following:

Roselyn Renee Richard,
individually and on behalf of
Skeeter’s Sports Bar, LLC
119 Williams Street

Houma, LA 70363-7793

L

Brandy Gonzales Scurria

